       Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 1 of 27




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION
 ESTATE OF JEFFERY L. PETERS               §
 AND JARYD PETERS,                         §
 INDIVIDUALLY AND AS                       §
 REPRESENTATIVE OF ESTATE                  §
 OF JEFFERY L. PETERS,                     §
 Plaintiffs                                §
                                           §
 v.                                        § CIVIL ACTION NO. 3:21-cv-00256
                                           § JURY DEMANDED
 GALVESTON COUNTY, SHERIFF                 §
 HENRY TROCHESSET, in his                  §
 individual      capacity,   BOON          §
 CHAPMAN                   BENEFIT         §
 ADMINISTRATORS INC., SOLUTA,              §
 INC., SOLUTA HEALTH, INC.,                §
 CHIEF MEDICAL EXAMINER, Dr.               §
 Erin Barnhart in her individual           §
 capacity and Officer MCINNIS in his       §
 individual capacity,                      §
 Defendants.


         ESTATE OF JEFFREY PETERS RESPONSE TO CHIEF MEDICAL
           EXAMINER, DR. ERIN BARNHART MOTION TO DISMISS

TO THE HONORABLE JUDGE OF SAID COURT:


         Plaintiffs, Jaryd Peters, et al. (herein “Plaintiffs”) file this their Response to

Defendant, Dr. Erin Barnhart’s Motion to Dismiss the Second Amended Complaint [Dkt.

65] and in support thereof, would respectfully show the following:

                                   I.   INTRODUCTION


      Defendants were served and answered the claims by filing it is 12(b)6 Motion to

Dismiss.
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 2 of 27




                               TABLE OF CONTENTS
INTRODUCTION                                                                           1
TABLE OF CONTENTS                                                                      2
TABLE OF AUTHORITIES                                                                   2
OBJECTION TO DEFENDANTS’ RECITATION OF THE FACTS                                       4
SUMMARY OF PLAINTIFFS’ ARGUMENTS                                                      4
  Plaintiffs asserted plausible facts to support claims against each defendant in their
  Live Complaint, therefore, under Ashcroft v. Iqbal and Bell Atlantic v. Twombly a
  motion to dismiss must be denied                                                    4
     Sec. 11. Records                                                                 5
ARGUMENTS AND AUTHORITIES                                                               6
  A complaint is only required to contain a “short and plain statement of the claim”
  pursuant to Federal Rule of Civil Procedure Rule 8.                                   8
  Elements necessary to establish liability under 42 U.S.C. section 1983, Fourteenth
  Amendment have been plead                                                            11
  Facts support Plaintiffs’ civil rights claims under 42 U.S.C. section 1983 and preclude
  the granting of Defendants’ motion to dismiss                                        14
  The Failure to Train and Supervise Claim is Raised Against Dr. Barnhart              24
  Plaintiffs also set forth facts to support a State Law claim for violation of the Texas
  Open Records Public Information Act against Dr. Barnhart.                            24
  Plaintiff is not seeking to recover from Barnhart for the death of Mr. Peters or claims
  under the Eighth Amendment.                                                          25
PRAYER                                                                                26



                             TABLE OF AUTHORITIES

Cases                                                                           Page(s)


Ashcroft v. Iqbal, 556 U.S. 662, 679, 129 S.Ct. 1937, 1950, 173 L.Ed.2d 868
(2009)………………………………………………………………………….. 10
     Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 3 of 27




Batiste v. Layrisson, CIV.A. 04-0607, 2005 WL 840468, at *3 (E.D. La. Apr.
1, 2005)………………………………………………………………………...                                                                     8

Bd. of the Cty. Comm'rs of Bryan Cty., Okl. v. Brown, 520 U.S. 397, 403, 117
S. Ct. 1382, 137 L. Ed. 2d 626 (1997)…………………….…………………...                                                   10

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556, 570, 127 S.Ct. 1955, 1965,
1974, 167 L.Ed.2d 929 (2007)............................................................................   10

Butler v. State, 872 S.W.2d 227, 238 (Tex. Crim. App. 1994)………………… 5

Drain v. Galveston County, 999 F.Supp. 929, 933 (S.D.Tex.1998).................... 8

Elliot v. Perez, 751 F.2d 1472, 1479 (5th Cir. 1985)........................................... 8

Garcia v. State, 868 S.W.2d 337, 342 (Tex. Crim. App. 1993)………………... 5

Jackson v. Procunier, 789 F.2d 307, 309 (5th Cir. 1986)....................................                7

Kaiser Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d
1045, 1050 (5th Cir.1982)…………………….…………………….…………. 8

Leatherman v. Tarrant County Narcotics Intelligence & Coordination Unit,
507 U.S. 163, 113 S. Ct. 1160, 122 L. Ed. 2d 517 (1993)…………………….                                           9

Monell v. Department of Social Services, 436 U.S. 658, 691 (1978).................. 14,20

Oliver v. Scott, 276 F.3d 736, 740 (5th Cir. 2002)............................................... 7

Pembaur v. City of Cincinnati, et al, 475 U.S. 469, 481 (1986)......................... 14,20

Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001)......................                     14,20

Reese v. Anderson, 926 F.2d 494, 500 (5th Cir. 1991)………………………… 8

Spiller v. City of Texas City, Police Dep't, 130 F.3d 162, 167 (5th Cir.1997)…. 9
      Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 4 of 27




  Stroik v. Ponseti, 35 F.3d 155, 157 (5th Cir.1994), cert. denied, 514 U.S. 1064,
  115 S.Ct. 1692, 131 L.Ed.2d 556 (1995).................................………………...   8

  Tennessee v. Garner, 471 U.S. 1, 7, 105 S. Ct. 1694, 85 L.Ed.2d 1 (1985)........ 8

  State     v.   Terrazas,     4     S.W.3d      720     (Tex.     Crim.     App. 5
  1999)…………………………...

  Thomas v. City of Galveston, Texas, 800 F. Supp. 2d 826, 842-46 (S.D. Tex.
  2011)…………………….…………………….…………………….…………                                               9



          OBJECTION TO DEFENDANTS’ RECITATION OF THE FACTS


     Plaintiff objects to any facts within the Motion to Dismiss that have not been provided

 in the Complaint.[Dkt. 54]

                     SUMMARY OF PLAINTIFFS’ ARGUMENTS

I.Plaintiffs asserted plausible facts to support claims against each defendant in their Live

 Complaint, therefore, under Ashcroft v. Iqbal and Bell Atlantic v. Twombly a motion

 to dismiss must be denied


     Generally, autopsy reports are admissible pursuant to the public record and business

 record exceptions to the hearsay rule. Tex. R. Evid. 803(6), (8); Butler v. State, 872

 S.W.2d 227, 238 (Tex. Crim. App. 1994); Garcia v. State, 868 S.W.2d 337, 342 (Tex.

 Crim. App. 1993). An autopsy report is provided by a medical examiner who holds a

 public office, See Tex. Code Crim. Proc. Ann. art. 49.25, § 1 (West Supp. 2005), with

 duties imposed by law related to the preparation and filing of a report stating the cause of
     Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 5 of 27




death. Id. art. 49.25, §§ 6, 9, 11; Butler, 872 S.W.2d at 237-38 (citing Tex. R. Evid.

803(8)(B)); Garcia, 868 S.W.2d at 340-42. Moreover, the autopsy report is subject to

required public disclosure. Tex. Code Crim. Proc. Ann. art. 49.25, § 11 (West Supp.

2005).


     The [autopsy] report sets forth matters observed pursuant to a duty imposed by law,

including the location and the nature of the injuries. Terrazas v. State App. LEXIS 66969,

*13-15.


      Dr. Erin Barnhart is responsible for each death report and autopsies in Galveston

County. See, Texas Code of Criminal Procedure Art. 49.25:


Sec. 11.   Records


(a) The medical examiner shall keep full and complete records properly indexed, giving

the name if known of every person whose death is investigated, the place where the body

was found, the date, the cause and manner of death, and shall issue a death certificate.

The full report and detailed findings of the autopsy, if any, shall be a part of the record.

Copies of all records shall promptly be delivered to the proper district, county, or criminal

district attorney in any case where further investigation is advisable. The records may

not be withheld, subject to a discretionary exception under Chapter 552, Government

Code, except that a photograph or x-ray of a body taken during an autopsy is excepted

from required public disclosure in accordance with Chapter 552, Government Code, but

is subject to disclosure:
     Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 6 of 27




(1) under a subpoena or authority of other law; or


(2) if the photograph or x-ray is of the body of a person who died while in the custody of

law enforcement.


(b) Under the exception to public disclosure provided by Subsection (a), a governmental

body as defined by Section 552.003, Government Code, may withhold a photograph or

x-ray described by Subsection (a) without requesting a decision from the attorney general

under Subchapter G 1, Chapter 552, Government Code. This subsection does not affect

the required disclosure of a photograph or x-ray under Subsection (a)(1) or (2).




                           II.   ARGUMENTS AND AUTHORITIES


       Standard of Review


      To State a claim under 42 U.S.C. Section 1983, a plaintiff must demonstrate: (1) a

violation of the United States Constitution or of federal law, and (2) that the violation was

committed by someone acting under color of state law”. The Court should construe

Plaintiff's factual allegations in the light most favorable thereto. “If the factual allegations

in plaintiff's second amended complaint are sufficient to show their right to relief is

plausible and above mere speculation, the court should deny Defendant’s motion. A claim

has facial plausibility when the plaintiff pleads with factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.

The court accepts as true all allegations in the plaintiffs' complaint and all reasonable
     Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 7 of 27




inferences are to be drawn in favor of the plaintiff’s claims. A motion to dismiss under

Fed. R. Civ. P. 12(b)(6), for failure to state a claim upon which relief can be granted, is to

be evaluated on the pleadings alone.’ See Jackson v. Procunier, 789 F.2d 307, 309 (5th

Cir. 1986). A plaintiff's claim for relief must contain "a short and plain statement of the

claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). When making

this inquiry, a court must construe the complaint liberally, in favor of the plaintiff "and

assume the truth of all pleaded facts." Oliver v. Scott, 276 F.3d 736, 740 (5th Cir. 2002).

"While it is not always clear just when minimal police interference becomes a seizure,

there can be no question that apprehension by the use of deadly force is a seizure subject

to the reasonableness requirement of the Fourth Amendment." Tennessee v. Garner, 471

U.S. 1, 7, 105 S. Ct. 1694, 85 L.Ed.2d 1 (1985) (citation omitted). Thus, a deadly force

complaint under § 1983 brought by a free citizen must be analyzed according to Fourth

Amendment standards. See Stroik v. Ponseti, 35 F.3d 155, 157 (5th Cir.1994), cert.

denied, 514 U.S. 1064, 115 S.Ct. 1692, 131 L.Ed.2d 556 (1995); Reese v. Anderson, 926

F.2d 494, 500 (5th Cir. 1991); Drain v. Galveston County, 999 F.Supp. 929, 933

(S.D.Tex.1998).


       It is only in individual capacity § 1983 suits that the Fifth Circuit applies a

heightened pleading standard, which requires Plaintiff to plead facts with particularity,

focusing specifically on the conduct of the individual who caused the injury. See Elliot v.

Perez, 751 F.2d 1472, 1479 (5th Cir. 1985); Batiste v. Layrisson, CIV.A. 04-0607, 2005

WL 840468, at *3 (E.D. La. Apr. 1, 2005). The court must accept all well-pleaded facts
     Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 8 of 27




in the complaint as true. Kaiser Aluminum & Chem. Sales, Inc. v. Avondale Shipyards,

Inc., 677 F.2d 1045, 1050 (5th Cir.1982).

A.    A complaint is only required to contain a “short and plain statement of the
claim” pursuant to Federal Rule of Civil Procedure Rule 8.

    The asserted claims against Dr. Erin Barnhart are based on both her acting in her

official capacity as a Medical Examiner for Galveston County and in Barnhart’s

individual capacity. For those claims based on Barnhart's conduct acting in her official

capacity the Monell v. Social Services, 436 U.S. 658 (1978) standards apply. That is, the

heightened pleading standard does not apply to claims against her in an official capacity,

but rather notice pleading is required.


       Monell claims are not subject to Heightened Pleading Standard


       There is no requirement to plead more than a short plain statement in this case

since the heightened pleading standard does not apply to claims asserted against the

Medical Examiner, Sheriff Trochesset, and Galveston County, an actor in their official

capacity or a municipality. Thomas v. City of Galveston, Texas, 800 F. Supp. 2d 826,

842-46 (S.D. Tex. 2011)


      Peters, here, need not plead the relevant policy or widespread practice in exhaustive

detail. Thomas v. City of Galveston, Texas, 800 F. Supp. 2d 826, 842-46 (S.D. Tex. 2011)

(explaining that "only minimal factual allegations should be required at the motion

to dismiss stage."). Nor is Peters subject to a heightened pleading standard. Leatherman

v. Tarrant County Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 113 S. Ct.
     Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 9 of 27




1160, 122 L. Ed. 2d 517 (1993) (holding that Monell claims are not subject to a

heightened pleading standard). However, the bare requirements of notice pleading

under Rule 8 of the Federal Rules of Civil Procedure require that "[t]he description of a

policy or custom and its relationship to the underlying constitutional violation ... cannot

be conclusory; it must contain specific facts." Spiller v. City of Texas City, Police Dep't,

130 F.3d 162, 167 (5th Cir.1997) (citation omitted) (emphasis added). Moreover, in light

of Iqbal and Twombly, Maze must plead sufficient facts "to state a claim for relief that is

plausible on its face," that is, enough "to raise a reasonable expectation that discovery

will reveal evidence" to support the claim. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556,

570, 127 S.Ct. 1955, 1965, 1974, 167 L.Ed.2d 929 (2007); see also Ashcroft v. Iqbal, 556

U.S. 662, 679, 129 S.Ct. 1937, 1950, 173 L.Ed.2d 868 (2009) ("where the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged but it has not 'show[n]'—that the pleader is entitled to relief.'").


    To satisfy this standard, a plaintiff must, at a minimum, identify the relevant policy,

custom or practice that was the motivating force for the alleged constitutional violation.

See Bd. of the Cty. Comm'rs of Bryan Cty., Okl. v. Brown, 520 U.S. 397, 403, 117 S. Ct.

1382, 137 L. Ed. 2d 626 (1997) ("... we have required a plaintiff seeking to impose

liability on a municipality under section 1983 to identify a municipal 'policy' or 'custom'

that caused the plaintiff's injury.")


      Defendants, Medical Examiner, Dr. Erin Barnhart, Galveston County, and Sheriff

Henry Trochesset seek to hold Peters to the impermissible heightened pleading standard
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 10 of 27




and not the legally required notice pleading standard under Rule 8. The notice pleading

standard is less stringent. Peters, here, has described the policy, or widespread practice in

exhaustive detail and its relationship to the underlying constitutional violation(s).(See,

Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39 and 51-53). The policy and practice

violated in Peters included failing and refusing to provide an autopsy report of the cause

and manner of death, failing to provide the family with the cause and manner of Peters’

death, failing and refusing to comply with the Texas Public Information Act, HIPAA,

Texas Administrative Code and the Texas Government Code’s requirement of an autopsy

to the family and conspiring to deny autopsy within the two-year limitations for filing

claims and the relationship to the underlying constitutional violations.


    More importantly, Dr. Barnhart, as the medical examiner for the county, was required

to report the cause of death to Galveston County Sheriff, who is required to report the

cause of death in a custodial jail death report to the Texas Commission on Jail Standards

and the Texas Attorney General’s office. See, Texas Administrative Code, Title 37, Part 9,

Chapter 269, 269.1 Subchapter A. Sheriff Trochesset reported to the media the cause of

death was pending the autopsy. Today, the cause of death remains pending and no update

or supplement to the custodial jail death report has been filed with the State.


       The autopsy report provided by Dr. Erin Barnhart in her official capacity as the

Chief Medical Examiner was a fully redacted document from corner to corner leaving

only the identifying information the name of the decedent and his date of birth.
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 11 of 27




      The plaintiff's allegations must provide fair notice to the defendant with respect to

the specific policies or customs that are being challenged. Id. at 844. For example,

"allegations that provide such notice could include, but are not limited to, past

incidents of misconduct to others, multiple harms that occurred to the plaintiff

himself, misconduct that occurred in the open, the involvement of multiple officials

in the misconduct, or the specific topic of the challenged policy or training

inadequacy." Id. (footnotes omitted) In Thomas, the court concluded that the plaintiff's

"lengthy" allegations did not satisfy this pleading standard because they "consist[ed] only

of a list of number of broadly-defined constitutional violations (for example, 'excessive

force' and 'unlawful searches and seizures') followed by the assertion that there was a

pattern of such violations, that there was a failure to train, or that the violations resulted

from improper hiring." Id. at 845.




B.    Elements necessary to establish liability under 42 U.S.C. section 1983,
Fourteenth Amendment have been plead

    Mr. Peters was a pre-trial detainee. Dkt. 54,page 8 The claims against the defendant

are based upon the violations of due process under the Fourteenth Amendment. The Eight

amendments require the government actors to provide adequate medical care and are

applicable to the states and municipalities through the Fourteenth amendment.


       One way to establish municipal liability under 42 U.S.C. section 1983 is that

Plaintiffs must show that an official policy was promulgated by a policymaker and was

the moving force of the violation of a constitutional right. Stated differently with
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 12 of 27




reference to the instant facts, to defeat the motion to dismiss and allege plausible facts

giving     rise   to   liability,   Plaintiffs   must   show   that   an   official   policy or

policies—(cost-saving denial and delay of medical treatment of mental health

issues),—was the moving force in Peters' death. “To be sure, ‘official policy’ often refers

to formal rules or understandings—often but not always committed to writing—that are

intended to, and do, establish fixed plans or action to be followed under similar

circumstances consistently and over time.” Pembaur v. City of Cincinnati, et al, 475 U.S.

469, 481 (1986); see also Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir.

2001).


         The plaintiffs have done exactly what is required. Plaintiffs have alleged facts

identifying a policymaker, a policy or custom, and a violation of Peters' constitutional

rights, which resulted in his death, and which cause of death are the policies identified.

See Piotrowski, 237 F.3d at 578. 10. Additionally, not only have Plaintiffs alleged

policies (cost-saving denial and delay of medical treatment of mental health issues), but

also a pattern and practice of Defendants being deliberately indifferent to carrying out

these policies, which failure caused Peters' death. Defendants’ brief characterization of

Monell v. Department of Social Services, 436 U.S. 658, 691 (1978) is improper. ( Dkt. 54,

p. 17-18, 20, 21-30) Under Monell, Defendants are liable where a policy resulted in a

deprivation of constitutional rights. “[W]hen execution of a government’s policy or

custom, whether made by its lawmakers or by those whose edicts or acts may fairly be

said to represent official policy, inflicts the injury that the government as an entity is
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 13 of 27




responsible under § 1983.” Monell, 436 U.S. at 691. Thus, where the facts involve

“official policy as the moving force of the constitutional violation” the government is

responsible. Monell, 436 U.S. at 694. Defendants assert, incorrectly, that Plaintiffs have

not met their Monell burden because there were “no deaths after Mr. Peters ” showing

“pattern and practice that would put the policymaker on notice.” The burden is whether

Plaintiffs have alleged that the execution of official policy has inflicted injury. Monell,

436 U.S. at 694. Furthermore, Mr. Peters' death could have spurred a positive change,

which is fine for the future but does not bear upon the damages to Plaintiffs.


       As such, Plaintiffs have met their burden under Monell and to defeat Defendants’

motion to dismiss as they have pleaded sufficient facts to state a claim to relief that is

plausible on its face. This is borne out by Plaintiffs’ allegations that Peters' death was a

result of the policies identified in their Amended Complaint relating to the treatment of

individuals experiencing anxiety, depression, and the proper medical care for serious

medical needs, particularly those with mental health issues, and the general medical

treatment of inmates housed in the Galveston County Jail.(Dkt. 54, pages 21-32,) and


(See, Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39 and 51-53).
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 14 of 27




C.    Facts support Plaintiffs’ civil rights claims under 42 U.S.C. section 1983 and
preclude the granting of Defendants’ motion to dismiss

        Defendant Dr. Erin Barnhart is and was at all times relevant to this action the

chief medical examiner for the Galveston County jail and a licensed physician acting in

her official capacity and individual capacity.


       According to the Texas Public Information Act, an autopsy report is public

information and may be released to anyone who requests a copy unless there is an

exception under the law. (See, Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39 and 51-53).


       After almost two years of numerous requests, the appointed Galveston County

Medical Examiner, Dr. Erin Barnhart, as a state actor acting in her official capacity under

the color of law has never released the unredacted official autopsy report of Jeffrey Lynn

Peters signed by the medical examiner to the grieving family of Jeffrey Lynn Peters. An

autopsy report that identifies the manner and cause of the death of Mr. Jeffrey Peters. His

sons required counseling, and mental and emotional treatment to cope with the death, and

did not know the official cause and manner of their father’s death from the medical

examiner. The purported reasons given for the almost two-year refusal to release the

unredacted autopsy report are: the records are not available, the matter is the subject of a

criminal investigation by the Galveston County District Attorney’s office, and the

appointed Galveston County Medical Examiner, Dr. Erin Barnhart did not perform the

autopsy report. (See, Dkt. 54, pages 14- 15, 31-36, 38-39 and 51-53). No criminal

charges, however, have ever been filed or charged against Officer McInnis or anyone due

to the death of Mr. Peters.(See, Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39 and 51-53).
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 15 of 27




    Barnhart conspired, covered up, discreetly sanctioned, approved, and knowingly

consented to the unconstitutional conduct while acting under the color of law. By refusing

to provide the family of Mr. Peters with a copy of the unredacted autopsy report almost

two years after their father’s death. Barnhart directly participated in the misconduct by

refusing to provide an autopsy report until on or about after the expiration of the

limitation period with the cause of Mr. Peters’ death.(See, Dkt. 54, page 6, 7, 9-10, 14-

15, 31-36, 38-39 and 51-53). In addition, she discreetly sanctioned, cover-up, approved

and knowingly consented to the unconstitutional conduct of the Galveston County

Sheriff, jailers, and officers by agreeing and failing to issue an autopsy report to Mr.

Peter’s family to identify the manner and cause of his death. (See, Dkt. 54, page 6, 7,

9-10, 14- 15, 31-36, 38-39 and 51-53). Barnhart directly participated in the misconduct

by refusing to provide an unredacted autopsy report until on or about after the expiration

of limitation with the cause of Mr. Peters’ death, in addition, she discreetly sanctioned,

cover-up, approved and knowingly consented to the unconstitutional conduct of the

Galveston County Sheriff, jailers, and officers by agreeing and failing to issue an autopsy

report to Mr. Peter’s family identifying the manner and cause of his death.(See, Dkt. 54,

page 6, 7, 9-10, 14- 15, 31-36, 38-39 and 51-53).       The Chief Medical Examiner of

Galveston County, Dr. Dr. Erin Barnhart, charged with the responsibility for the

Galveston County autopsy, continues to withhold the official signed, unredacted autopsy

either by choice or at the direction of the former Galveston County Sheriff or the District

Attorney. [Dkt 54 ¶ 38]
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 16 of 27




   Barnhart is responsible for each death report and autopsies in Galveston County. See,

Texas Code of Criminal Procedure Art. 49.25: Sec. 11. Records (a) The medical examiner

shall keep full and complete records properly indexed, giving the name if known of every

person whose death is investigated, the place where the body was found, the date, the

cause and manner of death, and shall issue a death certificate. The full report and detailed

findings of the autopsy, if any, shall be a part of the record. Copies of all records shall

promptly be delivered to the proper district, county, or criminal district attorney in any

case where further investigation is advisable. The records may not be withheld, subject to

a discretionary exception under Chapter 552, Government Code, except that a photograph

or x-ray of a body taken during an autopsy is excepted from required public disclosure in

accordance with Chapter 552, Government Code, but is subject to disclosure: (1) under a

subpoena or authority of other law; or (2) if the photograph or x-ray is of the body of a

person who died while in the custody of law enforcement. (b) Under the exception to

public disclosure provided by Sub§ (a), a governmental body as defined by § 552.003,

Government Code, may withhold a photograph or x-ray described by Sub§ (a) without

requesting a decision from the attorney general under Subchapter G 1, Chapter 552,

Government Code. This sub§ does not affect the required disclosure of a photograph or

x-ray under Sub§ (a)(1) or (2). Efforts to obtain Autopsy, toxicology report, photographs,

blood tissue samples, and related [Dkt. 54 ¶111]. Jaryd Peters requested a copy of his

father’s autopsy from the Galveston County Medical Examiner's Office and provided the

required completed forms from the Medical examiners’ website.(See, Dkt. 54, page 6, 7,

9-10, 14- 15, 31-36, 38-39 and 51-53).
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 17 of 27




     In November 2019, Jaryd Peters requested a copy of his father’s autopsy report from

the Medical Examiner. On November 20, 2019, Jaryd Peters received a letter from the

Galveston County 2020 Medical Examiner stating:


“The ME office received your request for information seeking a post mortem exam report

on Mr. Jeffrey Lynn Peters case number ME 01 2019 673. A copy of your request for

information is enclosed. The ME Office does not have information responsive to your

request, as the examination report is not yet in existence. In the event you continue to

want a copy of the report, you will need to submit another request for information in the

future. Please allow up to 60 days from the date of the exam to the completion of the

report. Sincerely, Public Information Officer Medical Examiner's Office Galveston

County.”(See, Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39 and 51-53).


In December 2019, Jaryd Peters made another request for a copy of his father’s autopsy

report, but on December 30, 2019, he received the same response from the Galveston

County Medical Examiner:


 “The ME office received your request for information seeking a post mortem exam

report on Mr. Jeffrey Lynn Peters case number ME 01 2019 673. A copy of your request

for information is enclosed. The ME Office does not have information responsive to your

request, as the examination report is not yet in existence. In the event you continue to
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 18 of 27




want a copy of the report, you will need to submit another request for information in the

future. Please allow up to 60 days from the date of the exam to the completion of the

report. Sincerely, Public Information Officer Medical Examiner's Office Galveston

County.”Mr. Peters was a pre-trial detainee. Dkt. 54, page 8 The claims against the

defendant are based upon the violations of due process under the Fourteenth Amendment.

The Eight amendments require the government actors to provide adequate medical care

and are applicable to the states and municipalities through the Fourteenth amendment.


         One way to establish municipal liability under 42 U.S.C. section 1983 is that

Plaintiffs must show that an official policy was promulgated by a policymaker and was

the moving force of the violation of a constitutional right. Stated differently with

reference to the instant facts, to defeat the motion to dismiss and allege plausible facts

giving     rise   to   liability,   Plaintiffs   must   show   that   an   official   policy or

policies—(cost-saving denial and delay of medical treatment of mental health

issues),—was the moving force in Peters' death. “To be sure, ‘official policy’ often refers

to formal rules or understandings—often but not always committed to writing—that are

intended to, and do, establish fixed plans or action to be followed under similar

circumstances consistently and over time.” Pembaur v. City of Cincinnati, et al, 475 U.S.

469, 481 (1986); see also Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir.

2001).


         The plaintiffs have done exactly what is required. Plaintiffs have alleged facts

identifying a policymaker, a policy or custom, and a violation of Peters' constitutional
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 19 of 27




rights, which resulted in his death, and which cause of death are the policies identified.

See Piotrowski, 237 F.3d at 578. 10. Additionally, not only have Plaintiffs alleged

policies (cost-saving denial and delay of medical treatment of mental health issues), but

also a pattern and practice of Defendants being deliberately indifferent to carrying out

these policies, which failure caused Peters' death. Defendants’ brief characterization of

Monell v. Department of Social Services, 436 U.S. 658, 691 (1978) is improper. ( Dkt. 54,

p. 17-18, 20, 21-30) Under Monell, Defendants are liable where a policy resulted in a

deprivation of constitutional rights. “[W]hen execution of a government’s policy or

custom, whether made by its lawmakers or by those whose edicts or acts may fairly be

said to represent official policy, inflicts the injury that the government as an entity is

responsible under § 1983.” Monell, 436 U.S. at 691. Thus, where the facts involve

“official policy as the moving force of the constitutional violation” the government is

responsible. Monell, 436 U.S. at 694. Defendants assert, incorrectly, that Plaintiffs have

not met their Monell burden because there were “no deaths after Mr. Peters ” showing

“pattern and practice that would put the policymaker on notice.” The burden is whether

Plaintiffs have alleged that the execution of official policy has inflicted injury. Monell,

436 U.S. at 694. Furthermore, Mr. Peters' death could have spurred a positive change,

which is fine for the future but does not bear upon the damages to Plaintiffs.


       As such, Plaintiffs have met their burden under Monell and to defeat Defendants’

motion to dismiss as they have pleaded sufficient facts to state a claim to relief that is

plausible on its face. This is borne out by Plaintiffs’ allegations that Peters' death was a
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 20 of 27




result of the policies identified in their Amended Complaint relating to the treatment of

individuals experiencing anxiety, depression, and the proper medical care for serious

medical needs, particularly those with mental health issues, and the general medical

treatment of inmates housed in the Galveston County Jail.(Dkt. 54, pages 21-32,).




       On February 7, 2020, Jaryd Peters received a call that his father’s autopsy report

was ready from the Galveston County Medical Examiner’s office, but Jaryd Peters would

have to complete another form as his prior request had expired. ( Dkt. 54, page 34,35)


       Jaryd Peters sought counsel assistance and made another attempt to request a copy

of his father’s autopsy that was hand-delivered to the Manager of the Galveston County

Medical Examiner’s office but still no autopsy report, photographs, or toxic screen was

provided to counsel pursuant to open records and HIPAA1.


       Jaryd Peters was notified by the Galveston County District Attorney, Jack Roady,

that because his father’s death was under criminal investigation, no autopsy report will be

provided and that a copy of the correspondence was sent to Galveston County Chief

Medical Examiner Dr. Erin Barnhart. Roady never stated that the release of the autopsy

       1
         Plaintiff as next of kin has a right of access to the submitted information pursuant to the
Health Insurance Portability and Accountability Act of 1996 ("HIPAA"), 42 U.S.C. §§
1320d-1320d-8. At the direction of Congress, the Secretary of Health and Human Services ("HHS")
promulgated regulations setting privacy standards for medical records, which HHS issued as the
Federal Standards for Privacy of Individually Identifiable Health Information. See Health Insurance
Portability and Accountability Act of 1996, 42 U.S.C. § 1320d-2 (Supp. IV 1998) (historical &
statutory note); Standards for Privacy of Individually Identifiable Health Information, 45 C.F.R. pts.
160, 164 ("Privacy Rule"). These standards govern the releasability of protected health information
by a covered entity. See 45 C.F.R. pts. 160, 164.
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 21 of 27




report would result in an interference with the alleged criminal investigation, much less

any details on how the release of Mr. Peters' autopsy to his children would interfere with

the criminal investigation. Jaryd Peters' counsel filed a verified Petition under Rule 27 for

pre-suit discovery on June 23, 2020, requesting the deposition of the Chief Medical

Examiner. The court ordered the production of the witness for a deposition and the

autopsy report, toxicological report, photographs, and preservation of the blood, tissue

samples, and related samples. (See, Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39 and

51-53).


    Despite autopsy reports being public records and requested under HIPAA, Dr. Erin

Barnhart’s Counsel produced a purported autopsy report with each 8 x 10 page

completely redacted (blackened out with a box nearly the full size of the alleged autopsy

report 6 X 8, the margins were unredacted) withheld and proclaimed this was a matter

under criminal investigation. Dr. Barnhart never stated that the release of the autopsy

report would result in an interference with the alleged criminal investigation, much less

any details on how the release of Mr. Peters' autopsy to his children would interfere with

the criminal investigation. (See, Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39 and

51-53). After the alleged criminal investigation concluded, still no autopsy report was

provided detailing the cause of death. It remained concealed until a period just short of

the expiration of the two-year statute of limitations for filing a Civil Rights action.(See,

Dkt. 54,¶ 37-38, pages 14-15, 31-36, 38-39 and 51-53). As a matter of policy and

practice of Galveston County, she is the policymaker for the medical examiner’s office.
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 22 of 27




She adopted and       promulgated the policy of withholding the autopsy reports of

individuals that have died after entering the Galveston Jail or being released to the

hospital from the jail contrary to the government code since there was no criminal

investigation into Mr. Peter’s death.(See, Dkt. 54, page 6, 7, 9-10, 14- 15, 31-36, 38-39

and 51-53).    There was a claim that a criminal investigation had concluded, and even,

then, she continued to withhold Mr. Peters' Autopsy report. [Dkt 54¶ 113]


      The Peters family is not the only family that has had difficulty obtaining an autopsy

after a death that occurred and after being taken into custody or after being released to the

hospital. Jorge Cortez’s family also had difficulty obtaining Galveston County medical

records and autopsy reports. Kirk Swartz, who also died in the custody of Galveston

County, also had difficulty obtaining Galveston County medical records and autopsy

reports, only to find out later there was no autopsy performed, in violation of the Texas

Administrative Code, Title 37, Part 9, Chapter 269, 269.1 Subchapter A. and of the Texas

Government Code Sec. 501.055 and 511.021.


              (a) If an inmate dies while in the custody of the department, an employee of
              the facility who is in charge of the inmate shall immediately notify the
              nearest justice of the peace serving in the county in which the inmate died
              and the office of internal affairs for the department. The justice shall
              personally inspect the body and make an inquiry as to the cause of death.
              The justice shall make written copies of evidence taken during the inquest,
              and give one copy to the director and one copy to a district judge serving in
              the county in which the inmate died. The judge shall provide the copy to the
              grand jury and, if the judge determines the evidence indicates wrongdoing,
              instruct the grand jury to thoroughly investigate the cause of death.(b)
              Subsection (a) does not apply if the inmate:(1) dies of natural causes while
              attended by a physician or a registered nurse; or(2) is lawfully executed.(c)
              If an inmate dies as described by Subsection (b)(1), the department or an
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 23 of 27




              authorized official of the department shall immediately attempt to
              notify the next of kin of the inmate that the inmate has died, state the
              time of the inmate's death, and inform the next of kin that unless the
              next of kin objects to the department within eight hours of the stated
              time of death, an autopsy will be conducted on the inmate.(d) If the
              next of kin consents to the autopsy or does not within eight hours of the
              time of death file an objection with the department about the autopsy,
              the department or an authorized official of the department shall order
              an autopsy to be conducted on the inmate. The order of an autopsy under
              this subsection constitutes consent to an autopsy for the purposes of Article
              49.32, Code of Criminal Procedure. See, Tex. Govt. Code 501.055

    Dr. Barnhart engaged in a practice of employing other dilatory measures seeking an

attorney general’s opinion became a routine of her office, but not with all deaths, but the

deaths involving jail inmates, and citing an ongoing investigation for each and every law

enforcement custodial death without citing the nature of the investigation. [Dkt. 54¶116].

The harm suffered was the result of the Defendants’ conduct motivated by evil intent and

with callous deliberate indifference to the federally protected rights of Mr. Peters and his

sons. The Defendants, including Barnhart, further engaged in efforts to impede

discovering the constitutional violations of Galveston County by concealing and covering

up the cause of death, withholding, and destruction of records.


      Dr. Barnhart, Jack Roddy, Sheriff Trochesset, and Galveston County officials

conspired to promote unconstitutional policies, caused the injury of Jaryd Peters, and

deprived Mr. Peters of his constitutional right. [Dkt 54 ¶123]. The policy of Sheriff

Trochesset, Dr. Barnhart, and Galveston County policies, caused the injury of Mr. Peters

and deprived Mr. Peters of his constitutional right.● The Medical Examiner, acting in her

official capacity, and individual capacity, Dr. Erin Barnhart, District attorney, and Sheriff
     Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 24 of 27




of Galveston agreed not to release the autopsy or videos in the jail to the family. ( Dkt.54,

page 30 ¶ 110-117]

D.      The Failure to Train and Supervise Claim is Raised Against Dr. Barnhart

       Plaintiffs have set forth a “short and plain statement of his complaint.” See

Anderson v. Valdez, 845 F.3d 580, 589-90 (5th Cir. 2016). Plaintiffs also discussed those

allegations in their response to the motion to dismiss. These allegations mandate that

Barnhart’s motion fails under the law. “Supervisory liability exists even without overt

personal participation in the offensive act if supervisory officials implement a policy so

deficient that the policy “‘itself is a repudiation of constitutional rights’” and is “‘the

moving force of the constitutional violation.’” Thompkins v. Belt, 828 F.2d 298, 304 (5th

Cir. 1987) (citation omitted). Here, Dr. Erin Barnhart did not overtly participate in

causing the death of Mr. Peters. However, she implemented a policy of refusing to

produce the autopsy report of pre-trial detainees and incarcerated persons to families

desiring to know the cause and manner of their loved ones’ death until after the

expiration of the statute of limitations for filing suit.


E.    Plaintiffs also set forth facts to support a State Law claim for violation of the
Texas Open Records Public Information Act against Dr. Barnhart.

       In addition to facts pled to support the federal conspiracy claims to obstruct justice

and deprive Plaintiffs of the public information they needed to bring a claim, Plaintiffs

have also pled facts to support a claim that Dr. Barnhart violated the Texas Public

Information Act.
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 25 of 27




       Jaryd Peters was Jeffrey Peters' son. He requested his father’s autopsy record from

Barnhart under the open records act. Dr. Barnhart failed to turn over the records timely,

within ten business days of the request, when there was no basis to withhold the records.

She stated that the was a criminal investigation but she never demonstrated or much less

even stated that allowing his son to have the records would interfere with the

investigation. (Dkt 54, page 7)


        There are viable reasons to withhold open records, namely autopsies, but Dr.

Barnhart never articulated any of the valid reasons. A medical examiner can withhold

records if there is evidence that releasing the records to the requester would interfere with

an ongoing investigation. No criminal charges, however, have ever been filed or charged

against Officer McInnis or anyone due to the death of Mr. Peters. ( Dkt 54, 7)




F.    Plaintiff is not seeking to recover from Barnhart for the death of Mr. Peters or
claims under the Eighth Amendment.

       The defendants have a vigorous history of failing to release records to families

who have had loved ones lose their lives while in jail custody, including autopsy records.


    As mentioned above, Jorge Cortez’s family also had difficulty obtaining Galveston

County medical records and autopsy reports. Kirk Swartz, who also died in the custody

of Galveston County, also had difficulty obtaining Galveston County medical records and

autopsy reports, only to find out later there was no autopsy performed, in violation of the
    Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 26 of 27




Texas Administrative Code, Title 37, Part 9, Chapter 269, 269.1 Subchapter A. and of the

Government Code Section 501.055 and 511.021.




                                        PRAYER


       Plaintiffs respectfully request that this Court DENY the Motion to Dismiss the

Second (Corrected) Amended Complaint filed by Dr. Erin Barnhart in its entirety, or

alternatively, should the Court have any question whether to grant the Motion to Dismiss

in whole or in part, Plaintiffs respectfully request the opportunity to obtain additional

discovery, including but not limited to taking depositions, an opportunity to repled and

for such further relief as the Court may deem just and proper in law or in equity.


                                                       Respectfully submitted,

                                                       The Lewis Law Group, PLLC

                                                       By: /s/ U.A. Lewis

                                                        U.A. Lewis
                                                        Federal Bar No. 1645666
                                                        SBN 24076511
                                                        P.O. Box 27353
                                                        Houston, TX 77227
                                                        (713) 570-6555
                                                        (713) 581-1087
                                                        myattorneyatlaw.com

                                                        Law Offices of Debra Jennings

                                                        /s/Debra V. Jennings
   Case 3:21-cv-00256 Document 78 Filed on 05/04/22 in TXSD Page 27 of 27




                                                     Debra V. Jennings
                                                     Federal Bar No. 14373
                                                     6140 HWY 6, #269
                                                     Missouri City, Texas 77459
                                                     (713) 514-3034
                                                     (1832) 442-3700
                                                     lawyerdvj@gmail.com

                                                     Attorneys for Peters, et.al.



                           CERTIFICATE OF SERVICE

       I certify that on the 4th day of May, 2022, a copy of the foregoing document was
electronically filed on the CM/ECF system, which will automatically serve a Notice of
Electronic Filing to all counsel of record pursuant to the Federal Rules of Civil
Procedure.

                                                     /s/Debra V. Jennings
                                                     Debra V. Jennings
